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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    FORT LAUDERDALE DIVISION
                                         www.flsb.uscourts.gov


    In re:                                                                 Chapter 11

    DELPHI BEHAVIORAL HEALTH                                               Case No. 23-10945-PDR
    GROUP, LLC, et al.,1
                                                                           Ref. Docket Nos. 114-144 & 147-
                           Debtor.                                         149

                                           AFFIDAVIT OF SERVICE

STATE OF OHIO      )
                   ) ss.:
COUNTY OF FRANKLIN )

ANGELA CHACHOFF, being duly sworn, deposes and says:

1. I am employed as a Case Manager by Epiq Corporate Restructuring, LLC, with an office
   located at 5151 Blazer Parkway, Suite A, Dublin, Ohio 43017. I am over the age of eighteen
   years and am not a party to the above-captioned action.

2. On February 22, 2023, I caused to be served the:

       a. “Debtor, Delphi Behavioral Health Group, LLC’s Notice of Filing Payroll and Sales Tax
          Reports,” dated February 21, 2023 [Docket No. 114], (the “DHG Payroll Notice”),

       b. “Debtor, 61 Brown Street Holdings, LLC’s Notice of Filing Payroll and Sales Tax
          Reports,” dated February 21, 2023 [Docket No. 115], (the “Brown Payroll Notice”),


1
    The address of the Debtors is 1901 West Cypress Creek Road, Suite 500, Fort Lauderdale, FL 33309. The last four
    digits of the Debtors’ federal tax identification numbers are: (i) Delphi Behavioral Health Group, LLC (2076), (ii)
    61 Brown Street Holdings, LLC (0007), (iii) Aloft Recovery LLC (6674), (iv) Banyan Recovery Institute, LLC
    (6998), (v) Breakthrough Living Recovery Community, LLC (5966), (vi) California Addiction Treatment Center
    LLC (7655), (vii) California Vistas Addiction Treatment LLC (8272), (viii) DBHG Holding Company, LLC (6574),
    (ix) Defining Moment Recovery Community, LLC (3532), (x) Delphi Health BuyerCo, LLC (2325), (xi) Delphi
    Health Group, LLC (0570), (xii) Delphi Intermediate HealthCo, LLC (6378), (xiii) Delphi Management LLC (6474),
    (xiv) Desert View Recovery Community, LLC (7437), (xv) DR Parent, LLC (2700), (xvi) DR Sub, LLC (8183),
    (xvii) Las Olas Recovery LLC (9082), (xviii) Maryland House Detox, LLC (1626), (xix) New Perspectives, LLC
    (0508), (xx) Next Step Housing LLC (6975), (xxi) Ocean Breeze Detox, LLC (7019), (xxii) Ocean Breeze Recovery,
    LLC (9621), (xxiii) Onward Living Recovery Community, LLC (4735), (xxiv) Palm Beach Recovery, LLC (4459),
    (xxv) Peak Health NJ, LLC (7286), (xxvi) QBR Diagnostics, LLC (7835), (xxvii) Rogers Learning, LLC (1699),
    (xxviii) SBH Haverhill, LLC (0971), (xxix) SBH Union IOP LLC (4139), (xxx) Summit at Florham Park, LLC
    (8226), (xxxi) Summit Behavioral Health Limited Liability Company (3337), (xxxii) Summit Health BuyerCo, LLC
    (2762), (xxxiii) Summit IOP Limited (4567), and (xxxiv) Union Fresh Start LLC (6841).
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c. “Debtor, Aloft Recovery LLC’s Notice of Filing Payroll and Sales Tax Reports,” dated
   February 21, 2023 [Docket No. 116], (the “Aloft Payroll Notice”),

d. “Debtor, Banyan Recovery Institute, LLC’s Notice of Filing Payroll and Sales Tax
   Reports,” dated February 21, 2023 [Docket No. 117], (the “Banyan Payroll Notice”),

e. “Debtor, Breakthrough Living Recovery Community, LLC’s Notice of Filing Payroll and
   Sales Tax Reports,” dated February 21, 2023 [Docket No. 118], (the “Breakthrough
   Payroll Notice”),

 f. “Debtor, California Addiction Treatment Center LLC’s Notice of Filing Payroll and Sales
    Tax Reports,” dated February 21, 2023 [Docket No. 119], (the “Cali Addiction Payroll
    Notice”),

g. “Debtor, California Vistas Addiction Treatment LLC’s Notice of Filing Payroll and Sales
   Tax Reports,” dated February 21, 2023 [Docket No. 120], (the “Cali Vista Payroll
   Notice”),

h. “Debtor, DBHG Holding Company, LLC’s Notice of Filing Payroll and Sales Tax
   Reports,” dated February 21, 2023 [Docket No. 121], (the “DBHG Payroll Notice”),

 i. “Debtor, Defining Moment Recovery Community, LLC’s Notice of Filing Payroll and
    Sales Tax Reports,” dated February 21, 2023 [Docket No. 122], (the “Defining Payroll
    Notice”),

 j. “Debtor, Delphi Health BuyerCo, LLC’s Notice of Filing Payroll and Sales Tax Reports,”
    dated February 21, 2023 [Docket No. 123], (the “Delphi HB Payroll Notice”),

k. “Debtor, Delphi Health Group, LLC’s Notice of Filing Payroll and Sales Tax Reports,”
   dated February 21, 2023 [Docket No. 124], (the “Delphi HG Payroll Notice”),

 l. “Debtor, Delphi Intermediate HealthCo, LLC’s Notice of Filing Payroll and Sales Tax
    Reports,” dated February 21, 2023 [Docket No. 125], (the “Delphi IH Payroll Notice”),

m. “Debtor, Delphi Management LLC’s Notice of Filing Payroll and Sales Tax Reports,”
   dated February 21, 2023 [Docket No. 126], (the “Delphi Management Payroll Notice”),

n. “Debtor, Desert View Recovery Community, LLC’s Notice of Filing Payroll and Sales
   Tax Reports,” dated February 21, 2023 [Docket No. 127], (the “Desert Payroll Notice”),

o. “Debtor, DR Parent, LLC’s Notice of Filing Payroll and Sales Tax Reports,” dated
   February 21, 2023 [Docket No. 128], (the “DR Parent Payroll Notice”),

p. “Debtor, DR Sub, LLC’s Notice of Filing Payroll and Sales Tax Reports,” dated February
   21, 2023 [Docket No. 129], (the “DR Sub Payroll Notice”),
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 q. “Debtor, Las Olas Recovery LLC’s Notice of Filing Payroll and Sales Tax Reports,”
    dated February 21, 2023 [Docket No. 130], (the “Olas Payroll Notice”),

 r. “Debtor, Maryland House Detox, LLC’s Notice of Filing Payroll and Sales Tax Reports,”
    dated February 21, 2023 [Docket No. 131], (the “Maryland Payroll Notice”),

 s. “Debtor, New Perspectives, LLC’s Notice of Filing Payroll and Sales Tax Reports,” dated
    February 21, 2023 [Docket No. 132], (the “New Perspectives Payroll Notice”),

 t. “Debtor, Next Step Housing LLC’s Notice of Filing Payroll and Sales Tax Reports,”
    dated February 21, 2023 [Docket No. 133], (the “Next Step Payroll Notice”),

 u. “Debtor, Ocean Breeze Detox, LLC’s Notice of Filing Payroll and Sales Tax Reports,”
    dated February 21, 2023 [Docket No. 134], (the “Ocean Breeze Payroll Notice”),

 v. “Debtor, Ocean Breeze Recovery, LLC’s Notice of Filing Payroll and Sales Tax
    Reports,” dated February 21, 2023 [Docket No. 135], (the “Ocean Living Payroll
    Notice”),

w. “Debtor, Onward Living Recovery Community, LLC’s Notice of Filing Payroll and Sales
   Tax Reports,” dated February 21, 2023 [Docket No. 136], (the “Onward Payroll Notice”),

 x. “Debtor, Palm Beach Recovery, LLC’s Notice of Filing Payroll and Sales Tax Reports,”
    dated February 21, 2023 [Docket No. 137], (the “Palm Payroll Notice”),

 y. “Debtor, Peak Health NJ, LLC’s Notice of Filing Payroll and Sales Tax Reports,” dated
    February 21, 2023 [Docket No. 138], (the “Peak Payroll Notice”),

 z. “Debtor, QBR Diagnostics, LLC’s Notice of Filing Payroll and Sales Tax Reports,” dated
    February 21, 2023 [Docket No. 139], (the “QBR Payroll Notice”),

aa. “Debtor, Rogers Learning, LLC’s Notice of Filing Payroll and Sales Tax Reports,” dated
    February 21, 2023 [Docket No. 140], (the “Rogers Payroll Notice”),

bb. “Debtor, SBH Haverhill, LLC’s Notice of Filing Payroll and Sales Tax Reports,” dated
    February 21, 2023 [Docket No. 141], (the “SBH Haverhill Payroll Notice”),

cc. “Debtor, SBH Union IOP LLC’s Notice of Filing Payroll and Sales Tax Reports,” dated
    February 21, 2023 [Docket No. 142], (the “SBH Union Payroll Notice”),

dd. “Debtor, Summit at Florham Park, LLC’s Notice of Filing Payroll and Sales Tax
    Reports,” dated February 21, 2023 [Docket No. 143], (the “Summit Payroll Notice”),

ee. “Debtor, Summit Behavioral Health Limited Liability Company’s Notice of Filing
    Payroll and Sales Tax Reports,” dated February 21, 2023 [Docket No. 144], (the “Summit
    BH Payroll Notice”),
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   ff. “Debtor, Summit Health BuyerCo, LLC’s Notice of Filing Payroll and Sales Tax
       Reports,” dated February 21, 2023 [Docket No. 147], (the “Summit Health Payroll
       Notice”),

  gg. “Debtor, Summit IOP Limited’s Notice of Filing Payroll and Sales Tax Reports,” dated
      February 21, 2023 [Docket No. 148], (the “Summit IOP Payroll Notice”), and

  hh. “Debtor, Union Fresh Start LLC’s Notice of Filing Payroll and Sales Tax Reports,” dated
      February 21, 2023 [Docket No. 149], (the “Union Payroll Notice”),

by causing true and correct copies of the:

       i. DHG Payroll Notice, Brown Payroll Notice, Aloft Payroll Notice, Banyan Payroll
          Notice, Breakthrough Payroll Notice, Cali Addiction Payroll Notice, Cali Vista Payroll
          Notice, DBHG Payroll Notice, Defining Payroll Notice, Delphi HB Payroll Notice,
          Delphi HG Payroll Notice, Delphi IH Payroll Notice, Delphi Management Payroll
          Notice, Desert Payroll Notice, DR Parent Payroll Notice, DR Sub Payroll Notice, Olas
          Payroll Notice, Maryland Payroll Notice, New Perspectives Payroll Notice, Next Step
          Payroll Notice, Ocean Breeze Payroll Notice, Ocean Living Payroll Notice, Onward
          Payroll Notice, Palm Payroll Notice, Peak Payroll Notice, QBR Payroll Notice, Rogers
          Payroll Notice, SBH Haverhill Payroll Notice, SBH Union Payroll Notice, Summit
          Payroll Notice, Summit BH Payroll Notice, Summit Health Payroll Notice, Summit
          IOP Payroll Notice, and Union Payroll Notice to be enclosed securely in separate
          postage pre-paid envelopes and delivered via first class mail to those parties listed on
          the annexed Exhibit A,

      ii. DHG Payroll Notice to be enclosed securely in separate postage pre-paid envelopes
          and delivered via first class mail to those parties listed on the annexed Exhibit B,

     iii. DHG Payroll Notice, Breakthrough Payroll Notice, Ocean Breeze Payroll Notice, and
          Palm Payroll Notice to be enclosed securely in a postage pre-paid envelope and
          delivered via first class mail to the party listed on the annexed Exhibit C,

      iv. DHG Payroll Notice and SBH Haverhill Payroll Notice to be enclosed securely in
          separate postage pre-paid envelopes and delivered via first class mail to those parties
          listed on the annexed Exhibit D,

      v. DHG Payroll Notice, SBH Haverhill Payroll Notice, SBH Union Payroll Notice,
         Summit Payroll Notice, Summit BH Payroll Notice, and Union Payroll Notice to be
         enclosed securely in separate postage pre-paid envelopes and delivered via first class
         mail to those parties listed on the annexed Exhibit E,

      vi. DHG Payroll Notice, Summit BH Payroll Notice, and Union Payroll Notice to be
          enclosed securely in a postage pre-paid envelope and delivered via first class mail to
          the party listed on the annexed Exhibit F,
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     vii. Summit BH Payroll Notice to be enclosed securely in separate postage pre-paid
          envelopes and delivered via first class mail to those parties listed on the annexed
          Exhibit G,

    viii. Union Payroll Notice to be enclosed securely in a postage pre-paid envelope and
          delivered via first class mail to the party listed on the annexed Exhibit H, and

     ix. DHG Payroll Notice, Brown Payroll Notice, Aloft Payroll Notice, Banyan Payroll
         Notice, Breakthrough Payroll Notice, Cali Addiction Payroll Notice, Cali Vista Payroll
         Notice, DBHG Payroll Notice, Defining Payroll Notice, Delphi HB Payroll Notice,
         Delphi HG Payroll Notice, Delphi IH Payroll Notice, Delphi Management Payroll
         Notice, Desert Payroll Notice, DR Parent Payroll Notice, DR Sub Payroll Notice, Olas
         Payroll Notice, Maryland Payroll Notice, New Perspectives Payroll Notice, Next Step
         Payroll Notice, Ocean Breeze Payroll Notice, Ocean Living Payroll Notice, Onward
         Payroll Notice, Palm Payroll Notice, Peak Payroll Notice, QBR Payroll Notice, Rogers
         Payroll Notice, SBH Haverhill Payroll Notice, SBH Union Payroll Notice, Summit
         Payroll Notice, Summit BH Payroll Notice, Summit Health Payroll Notice, Summit
         IOP Payroll Notice, and Union Payroll Notice to be delivered via electronic mail to:
         ustp.region21@usdoj.gov, steven.wilkes@usdoj.gov, and heidi.a.feinman@usdoj.gov.

3. All envelopes utilized in the service of the foregoing contained the following legend:
   “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
   ADDRESSEE, PRESIDENT, OR LEGAL DEPARTMENT.”

                                                                     /s/ Angela Chachoff
                                                                     Angela Chachoff
 Sworn to before me this
 28th day of February, 2023
 /s/ Rosalyn DeMattia
 Rosalyn DeMattia
 Notary Public, State of Ohio
 Commission Expires: 7/18/2027
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                    EXHIBIT A
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 DELPHI BEHAVIORAL HEALTH GROUP, LLC, et al. - Case No. 23-10945-PDR
                      First Class Mail Parties


  UNITED STATES TREASURY            FLORIDA DEPARTMENT OF REVENUE
DEPARTMENT OF THE TREASURY                  MARK HAMILTON
 INTERNAL REVENUE SERVICE                     P.O. BOX 6668
      OGDEN, UT 84201                  TALLAHASSEE, FL 32314-6668


  FLORIDA DEPARTMENT OF
          REVENUE
    5050 W TENNESSEE ST
 TALLAHASSEE, FL 32399-0100




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                    EXHIBIT B
                                          Delphi Behavioral Health Group
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                                                    Service List
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Claim Name                               Address Information
ACCOUNT SERVICES GROUP MIC-90            EMPLOYEENT DEVELOPMENT DEPARTMENT PO BOX 942880 SACRAMENTO CA 94280
ARIZONA DEPARTEMENT OF ECONOMIC          1789 W. JEFFERSON ST PHOENIX AZ 85007
SECURITY
ARIZONA DEPARTMENT OF REVENUE            1600 WEST MONROE STREET PHOENIX AZ 85007
ARIZONA DEPARTMENT OF REVENUE            P.O. BOX 29079 PHOENIX AZ 85038-9079
CALIFORNIA DEPARTMENT OF TAX             AND FEE ADMINISTRATION P.O. BOX 942879 SACRAMENTO CA 94279
COMPTROLLER OF MARYLAND                  60 WEST STREET SUITE 102 ANNAPOLIS MD 21401
COMPTROLLER OF MARYLAND                  REVENUE ADMINISTRATION CENTER 80 CALVERT STREET ANNAPOLIS MD 21404
CONNECTICUT DEPARTMENT OF LABOR          200 FOLLY BROOK BLVD WETHERSFIELD CT 61091-1114
CONNECTICUT DEPARTMENT OF REVENUE        450 COLUMBUS BLVD SUITE 1 HARTFORD CT 06103
SERVICES
CONNECTICUT DEPARTMENT OF REVENUE        25 SIGOURNEY ST., STE 2 HARTFORD CT 06106-5032
SERVICES
DEPARTMENT OF EMPLOYMENT SECURITY        32 SOUTH MAIN STREET CONCORD NH 03301-4857
DEPARTMENT OF EMPLOYMENT SERVICES        OFFICE OF UNEMPLOYMENT COMPENSATION TAX DIVISION 609 H STREET NE, 3RD FLOOR
                                         WASHINGTON DC 20001-4347
DEPARTMENT OF LABOR                      STATE CAMPUS BUILDING 12, ROOM 500 ALBANY NY 12240-0339
DEPARTMENT OF LABOR AND WORKFORCE        220 FRENCH LANDING DR NASHVILLE TN 37243
DEVELOPMENT
DEPARTMENT OF LABOR, LICENSING, &        1100 NORTH EUTAW ST. ROOM 414 BALTIMORE MD 21201-2201
REGULATION
DEPARTMENT OF LICENSING AND REGULATORY   3024 W GRAND BLVD DETROIT MI 48202-6024
AFFAIRS
DEPT OF LABOR AND INDUSTRY               7TH AND FORSTER STREET, ROOM 915 HARRISBURG PA 17121-0001
DISTRICT OF COLUMBIA OFFICE OF TAX AND   1101 4TH STREET, SW SUITE 270 WEST WASHINGTON DC 20024
REVENUE
DIVISION OF EMPLOYMENT SECURITY          PO BOX 59 JEFFERSON CITY MO 65104-0059
EARNED INCOME TAX OFFICE                 H.A. BERKHEIMER, INC. 1101 LITTLE LANE, ROOM 10 WARMINSTER PA 18974
EMPLOYMENT COMMISSION                    PO BOX 1358 RICHMOND VA 23218-1358
EMPLOYMENT DEVELOPMENT DEPARTMENT        TAXPAYER ASSISTANCE CENTER PO BOX 826880 SACRAMENTO CA 94280-0001
FINANCE DEPARTMENT                       235 E AIRY STREET NORRISTOWN PA 19401
MARYLAND DEPARTMENT OF LABOR             P.O. BOX 17291 BALTIMORE MD 21297-0365
MASD TAX OFFICE                          3590 O'NEIL BOULEVARD MCKEESPORT PA 15132
MICHIGAN DEPARTMENT OF                   TREASURY LANSING MI 48922
MICHIGAN UNIEMPLOYMENT INSURANCE AGENCY PO BOX 8068 ROYAL OAK MI 48068-8068
MICHIGAN UNIEMPLOYMENT INSURANCE AGENCY CADILLAC PLACE 3024 WEST GRAND BOULEVARD DETROIT MI 48202
MISSOURI DEPARTMENT OF REVENUE           HARRY S TRUMAN STATE OFFICE BUILDING 301 WEST HIGHT STREET JEFFERSON CITY MO
                                         65101
NEW HAMPSHIRE DEPARTMENT OF REVENUE      109 PLEASANT ST. CONCORD NH 03301
ADMINISTRATION
NEW YORK STATE DEPARTMENT OF TAXATION    STATE PROCESSING CENTER PO BOX 15555 ALBANY NY 12212-5555
AND FINANCE
NEW YORK STATE DEPARTMENT OF TAXATION    1 COMMERCE PLAZA 99 WASHINGTON AVE. SUITE 600 ALBANY NY 12231-0001
AND FINANCE
NORRISTOWN AREA SD                       401 N WHITEHALL RD NORRISTOWN PA 19403
NORTH CAROLINA DEPARTMENT OF REVENUE     P.O. BOX 587787 RALEIGH NC 27658
NYS DEPARTMENT OF LABOR                  HARRIMAN CAMPUS BUILDING 12, ROOM 312 ALBANY NY 12226
OFFICE OF BUDGET AND FINANCE             400 WASHINGTON AVE ROOM 150 TOWSON MD 21204
OFFICE OF THE CHIEF FINANCIAL OFFICER    1350 PENNSYLVANIA AVENUE, NW SUITE 203, WASHINGTON DC 20004
OHIO DEPARTMENT OF JOB AND FAMILY        P.O. BOX 182404 COLUMBUS OH 43218-2404
SERVICES



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Claim Name                               Address Information
OHIO DEPARTMENT OF TAXATION              4485 NORTHLAND RIDGE BLVD. COLUMBUS OH 43229
PHILADELPHIA DEPARTMENT OF REVENUE       MUNICIPAL SERVICES BUILDING 1401 JOHN F. KENNEDY BLVD. PHILADELPHIA PA 19102
TENNESSEE DEPARTMENT OF REVENUE          ANDREW JACKSON BUILDING 500 DEADERICK ST. NASHVILLE TN 37242
UNEMPLOYMENT TAX - 911B                  DEPARTMENT OF ECONOMIC SECURITY PO BOX 2981 PHOENIX AZ 85005-6028
VIRGINIA DEPARTMENT OF TAXATION          OFFICE OF CUSTOMER SERVICES PO BOX 1115 RICHMOND VA 23218-1115
VIRGINIA DEPARTMENT OF TAXATION          1957 WESTMORELAND STREET RICHMOND VA 23230




                                  Total Creditor count 44




Epiq Corporate Restructuring, LLC                                                                            Page 2 OF 2
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                    EXHIBIT C
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DELPHI BEHAVIORAL HEALTH GROUP, LLC, et al. - Case No. 23-10945-PDR
                 Additional First Class Mail Party


                UNEMPLOYMENT COMPENSATION
                           SERVICES
              AGENCY FOR WORKFORCE INNOVATION
                      107 E. MADISON ST.
                            MSC 229
                  TALLAHASSEE, FL 32399-0180




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                    EXHIBIT D
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DELPHI BEHAVIORAL HEALTH GROUP, LLC, et al. - Case No. 23-10945-PDR
                 Additional First Class Mail Parties


           P16 Department of Revenue                 Massachusetts DOR
 Executive Office for Administration and Finance     200 Arlington Street
             100 Cambridge Street                    Chelsea, MA 02150
              Boston, MA 02204


      Division of Employment and Training
               19 Staniford Street
            Boston, MA 02114-2589




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                    EXHIBIT E
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     DELPHI BEHAVIORAL HEALTH GROUP, LLC, et al. - Case No. 23-10945-PDR
                     Additional First Class Mail Parties


      N.J. Division of Taxation                New Jersey Department of the Treasury
      Technical Services Branch                        Corporate Filing Unit
            P.O. Box 281                                   P.O. Box 252
        Trenton, NJ 08695                           Trenton, NJ 08646-0252



New Jersey Department of the Treasury            New Jersey Department of Labor and
        Division of Taxation                          Workforce Development
          50 Barrack Street                           Unemployment Insurance
           1st Floor Lobby                                  PO Box 908
        Trenton, NJ 08695                             Trenton, NJ 08625-0908



 New Jersey Department of Labor and
      Workforce Development
            PO Box 947
     Trenton, NJ 08625-0947




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                    EXHIBIT F
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DELPHI BEHAVIORAL HEALTH GROUP, LLC, et al. - Case No. 23-10945-PDR
                 Additional First Class Mail Party


                      PA Department of Revenue
                           PO BOX 280904
                      Harrisburg, PA 17128-0904




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                    EXHIBIT G
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DELPHI BEHAVIORAL HEALTH GROUP, LLC, et al. - Case No. 23-10945-PDR
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             Centennial S.D.           Central Bucks S.D.
              48 Swan Way               20 Welden Drive
           Warminster, PA 18974       Doylestown, PA 18901




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                    EXHIBIT H
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DELPHI BEHAVIORAL HEALTH GROUP, LLC, et al. - Case No. 23-10945-PDR
                 Additional First Class Mail Party


                        Bermudian Springs SD
                         East Berlin Borough
                          197 Jacobs Street
                        East Berlin, PA 17316




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